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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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JULIAN PERDOMO, on behalf of himself, Oona
FLSA collective plaintiffs, and the class,
Plaintiff, :
v. ORDER

113-117 REALTY, LLC, DIRECT : 18 CV 9860 (VB)
PROPERTY MANAGEMENT, LLC, and
LAWRENCE MAROLDA,

Defendants.

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On February 6, 2020, the Court referred the parties to the Court-annexed Mediation
Program. (Doc. #58). On July 21, 2020, the mediator reported to the Clerk of Court informing
the Court that the parties reached agreement on all issues. On the same day, plaintiffs counsel
wrote to the Court requesting “two weeks to allow the parties the opportunity to resolve
outstanding issues.” (Doc. #60).

To date, no party has informed the Court whether remaining issues have been resolved, or
whether the case is proceeding.

Accordingly, it is hereby ORDERED that by November 12, 2020, the parties shall file a
joint letter on the docket regarding the status of settlement. The parties shall further indicate
whether they wish to proceed with the case management conference currently scheduled for
November 16, 2020 at 9:30 a.m.

With respect to the case management conference scheduled for November 16, 2020, at

9:30 a.m., that conference will take place telephonically, if at all. If the conference proceeds as
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scheduled, counsel for all parties shall attend by calling the following number and entering the

access code when requested:

Number: (888) 363-4749 (toll-free) or (215) 446-3662
Access Code: 1703567

- Dated: November 5, 2020
White Plains, NY

SO ORDERED:

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Vincent L. Briccetti
United States District Judge

 
